Case 20-03142-KRH             Doc 273      Filed 07/19/22 Entered 07/19/22 10:44:00              Desc Main
                                          Document     Page 1 of 6



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division


 In re:

 LECLAIRRYAN PLLC,                                                  Chapter 7

                            Debtor.                                 Case no. 19-34574 (KRH)
 ________________

 Lynn L. Tavenner, as Chapter 7 Trustee,

          Plaintiff,                                                Adv. Pros. 20-03142 (KRH) and

 v.                                                                             21-03095 (KRH)

 ULX Partners, LLC, UnitedLex Corporation, and
 ULX Managers, LLC

       Defendants.
 ___________________

 Lynn L. Tavenner, as Chapter 7 Trustee,

          Plaintiff,
 v.

 CVC Capital Partners, Daniel Reed, Nicholas
 Hinton, Josh Rosenfeld, P. Douglas Benson

 Defendants.




                       THE UNITED STATES TRUSTEE’S NOTICE OF APPEAL

 ________________________________________________________________
 Kathryn R. Montgomery, AUST (Va. Bar No. 42380)
 Shannon Pecoraro (Va. Bar No. 46864)
 Jason B. Shorter (Va. Bar No. 80929)
 Department of Justice
 Office of the United States Trustee
 701 East Broad Street, Suite 4304
 Richmond, VA 23219
 Telephone (804) 771-2310
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Case 20-03142-KRH            Doc 273      Filed 07/19/22 Entered 07/19/22 10:44:00                      Desc Main
                                         Document     Page 2 of 6




 Part 1: Identify the appellant

     1. Name of appellant:

         John P. Fitzgerald, III, Acting United States Trustee for Region Four


     2. Position of appellant in the bankruptcy case that is the subject of this appeal:

         United States Trustee (See 11 U.S.C. § 307; 28 U.S.C. §§ 581(A)(4) and 586)

 Part 2: Identify the subject of this appeal

     1. Describe the judgments, orders or decrees appealed from:

                 Oral ruling of the United States Bankruptcy Court for the Eastern District of
                  Virginia granting the Motion to Seal Settlement Agreement and Related Documents,
                  Information, and Hearings filed by David G. Barger of Greenberg Traurig, LLP on
                  behalf of ULX Partners, LLC, ULX Manager LLC, and UnitedLex Corporation
                  (ECF 1325 and ECF 207 in Adv. Pro. No. 21-03142).1

     2. State the date on which the judgments, orders, or decrees were entered:

         Oral ruling made during sealed portion of the omnibus hearing held on July 14, 2022. The
         Bankruptcy Court has indicated it will enter a written order and may draft a memorandum
         opinion.


 Part 3: Identify the other parties to the appeal

 List the names of all parties to the judgments, orders, or decrees appealed from and the names,
 addresses and telephone numbers of their attorneys:

 APPELLEE:

 ULX Partners, LLC, UnitedLex Corporation, and ULX Manager, LLC, Defendants in
 Adversary Proceeding 20-03142 and Parties to Settlement Agreement

            David G. Barger
            Thomas J. McKee, Jr.
            J. Gregory Milmoe


 1
   The transcripts of the open proceedings and sealed portion of the July 14, 2022 hearing are attached as Exhibit 1
 (open proceedings) and Exhibit 2 (sealed portion—filed under seal).
                                                        -2-
Case 20-03142-KRH       Doc 273    Filed 07/19/22 Entered 07/19/22 10:44:00        Desc Main
                                  Document     Page 3 of 6



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 OTHER INTERESTED PARTIES:

 Lynn Tavenner, Chapter 7 Trustee for LeClairRyan PLLC, Party to Settlement Agreement and
 Appellee in related appeal, Fitzgerald v. Tavenner, Case no. 3:22-cv-00494-DJN

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      brittanynelson@quinnemanuel.com


 LeClairRyan PLLC, Debtor

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        Jason William Harbour
        Henry Pollard Long, III
        Jennifer Ellen Wuebker
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 Foley & Lardner, LLP, objector to Chapter 7 Trustee’ s Motion to Approve Settlement
 Agreement

         Susan Poll Klaessy
         Foley & Lardner LLP
                                             -3-
Case 20-03142-KRH      Doc 273    Filed 07/19/22 Entered 07/19/22 10:44:00       Desc Main
                                 Document     Page 4 of 6



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 CVC Capital Partners, Defendant in Adversary Proceeding 21-03095 and Party to Settlement
 Agreement

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 Nicholas Hinton and Daniel Reed, Defendants in Adversary Proceeding 21-03095 Parties to
 Settlement Agreement

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 Josh Rosenfeld and P. Douglas Benson, Defendants in Adversary Proceeding 21-03095
 Parties to Settlement Agreement

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 CNA, Insurer and Party to Settlement Agreement

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                                             -4-
Case 20-03142-KRH       Doc 273    Filed 07/19/22 Entered 07/19/22 10:44:00       Desc Main
                                  Document     Page 5 of 6



 Travelers Casualty and Surety Company of America, Insurer and Party to Settlement
 Agreement

        Thomas J. Judge
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 Gary LeClair, Former Defendant in Adversary Proceeding 20-03142

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        William A. Broscious
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                                          Respectfully Submitted,


 Dated: July 19, 2022                     John P. Fitzgerald, III
                                          Acting United States Trustee, Region Four

                                       By: /s/ Kathryn R. Montgomery________________
                                           Kathryn R. Montgomery (Va. Bar No. 42380)
                                           Shannon Pecoraro (Va. Bar No. 46864)
                                           Jason B. Shorter (Va. Bar No. 80929)
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                                              -5-
Case 20-03142-KRH        Doc 273     Filed 07/19/22 Entered 07/19/22 10:44:00             Desc Main
                                    Document     Page 6 of 6




                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 19th day of July, 2022, a true and correct copy of the
 foregoing document was served via first class mail and/or electronic mail upon: (i) all parties and
 counsel requesting service via the Court’s ECF system, (ii) the Appellee by counsel, (iii) all other
 interested parties by counsel or registered agent as set forth above, (iv) the 20 largest unsecured
 creditors as listed on the Debtor’s schedules, (v) the Service List as defined by the governing Case
 Management Order, and (vi) all Persons identified in paragraph 4 of the FAO Procedures Order
 (ECF 533), as modified by the Order Modifying Settlement Procedures for FAO Actions (ECF
 929).



                                                      By: /s/ Kathryn R. Montgomery

                                                      Kathryn R. Montgomery, Esq.




                                                -6-
